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                          CRIMINAL CALENDAR

THE FOLLOWING CRIMINAL CASE WILL BE PRESENTED BY THE UNITED STATES
GOVERNMENT IN THE UNITED STATES DISTRICT COURT, 141 CHURCH STREET
NEW HAVEN, CONNECTICUT, BEFORE THE HONORABLE JANET C. HALL,
UNITED STATES DISTRICT JUDGE, ON SATURDAY, OCTOBER 6, 2012 AT 8:00 A.M.


                            INITIAL PRESENTMENT & ARRAIGNMENT

                            AUSA STEPHEN B. REYNOLDS

UNITED STATES               Criminal No. 3:06CR194(JCH)

  v.

SYED TALHA AHSAN            Count One

                            18 U.S.C. §§ 371 and 2339A (conspiracy to provide
                            material support to terrorists, not alleged to have resulted in
                            death)

                            Maximum Statutory Penalties:
                            Imprisonment:       15 years maximum
                            Fine:               $250,000 fine
                            Supervised Release: 3 years
                            Special Assessment: $100.00


                            Count Two

                            18 U.S.C. § 2339A (providing material support to terrorists,
                            not alleged to have resulted in death)

                            Maximum Statutory Penalties:
                            Imprisonment:       15 years maximum
                            Fine:               $250,000 fine
                            Supervised Release: 3 years
                            Special Assessment: $100.00
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                                 Count Three

                                 18 U.S.C. § 956 (conspiracy to kill, kidnap, maim, injure
                                 people or damage property)

                                 Maximum Statutory Penalties:
                                 Imprisonment:       maximum of life
                                 Fine:               $250,000 fine
                                 Supervised Release: 5 years
                                 Special Assessment: $100.00


TO:   THE HONORABLE JANET C. HALL, U.S. DISTRICT JUDGE

cc:   U. S. Marshal’s Office - New Haven
      U. S. Probation Office - New Haven
      Richard A. Reeve, Esq., Sheehan & Reeve, 139 Orange St., Suite 301,
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